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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                                                CIVIL ACTION
PENNSYLVANIA ,
               Plaintiff,

                 v.
                                                               NO. 17-4540
DONALD J. TRUMP, DONALD J.
WRIGHT, UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, STEVEN T.
MNUCHIN, UNITED STATES
DEPARTMENT OF THE TREASURY,
RENE ALEXANDER ACOSTA AND THE
UNITED STATES DEPARTMENT OF
LABOR,
               Defendants.

                  NOTICE OF PRELIMINARY PRETRIAL CONFERENCE

           The above captioned case is scheduled for a Preliminary Pretrial Conference pursuant

 to Federal Rule of Civil Procedure 16 (hereinafter the “Rule 16 Conference”) in the United

 States District Court for the Eastern District of Pennsylvania before the Honorable Wendy

 Beetlestone. The conference will be held at 10:00 A.M. on Thursday, April 4, 2019, in

 Courtroom 3B, James A. Byrne United States Courthouse, 601 Market Street, Philadelphia,

 Pennsylvania, 19106.

           After consultation with counsel for each party, and at least five business days prior to

 the Conference, counsel shall submit to Chambers the following forms, templates for which are

 attached to this Notice:

                 (1) Judge Beetlestone’s Joint Report of Rule 26(f) Meeting and Proposed
                     Discovery Plan.1

       The parties should commence discovery immediately and should not wait until the Rule

       1
       The Report of Rule 26(f) Meeting and Proposed Discovery Plan should be filed in
accordance with the Local Rules of Civil Procedure. (Via ECF)
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16 conference to do so.

       The parties shall comply with Judge Beetlestone’s Policies and Procedures, which are

available at www.paed.uscourts.gov.

        Counsel also should come to the Rule 16 Conference prepared to discuss the following

 issues with the Court:

              (1)   What, if any, discovery has transpired in this matter;

              (2)   What, if any, settlement discussions have taken place and the current status
                    of negotiations;

              (3)   What, if any, motions are pending and their current status; and

              (4)   Any other issues pertinent to bring to the Court’s attention at that time.

       Lead counsel shall attend the Rule 16 Conference. All participants of the Rule 16

Conference shall have entered their appearance prior to the conference.



                                             Very truly yours,


                                             /s/ A. Wilson
                                             A. Wilson
                                             Civil Deputy Clerk to Judge Wendy Beetlestone
                                             (267) 299-7450




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